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                                                   United States v. Mehmet Hakan Atilla


                 I        INTRODUCTION

                        Members of the panel, good morning and welcome to the U.S. District Court for the
                 Southern District of New York. I am Judge Richard M. Berman and this is my Law Clerk Christine
                 Murray. If there is anyone who cannot hear me, please raise your hand.

                         I thank you for being here. Your presence reflects your commitment to your civic
                 responsibilities, despite some inconvenience I know jury service may cause some of you. Jury
                 service, however, is one of the most important duties of a citizen. Our system of justice depends on
                 you and I, like all of my fellow judges and the parties in this case, am grateful to you for your
                 sacrifice.

                          The pending case is a criminal (as opposed to a civil) action. I anticipate the trial to last
                 approximately three to four weeks. However, unexpected events can always occur in a trial and
                 there is the possibility that the presentation of evidence and jury deliberations might spil 1over a day
                 or two. In terms of the actual trial schedule, I anticipate conducting the trial between 9: 15 am to
                 12:45 pm and 2: 15 pm to 4:45 pm each weekday beginning on Monday November 27, 2017. There
                 would be no trial conducted between December 25, 2017 and January 3, 2018 in the event that the
                 trial had not concluded by December 22, 2017.

                        After the case is presented, I will instruct or "charge" the jury on the law that applies to this
                 case. The jury will then retire to the jury room to deliberate, and the deliberations can take as much
                 time or as little time as you think appropriate.

                         Your duty for those selected as jurors will be to act as the determiners of the facts. As I just
                 indicated, I am the determiner of the law and will instruct the jury on the law.

                         You are here this morning to start the proceedings by helping me to select a jury. The vital
                 function of jurors in the U.S . system of justice is to accord parties in a litigation a fair trial. To do
                 so, jurors must be free from any preconceived notions or any sympathies to one side or the
                 other or prejudices that might prevent them from returning a fair and just verdict based solely
                 on the evidence. In order to give the parties in this action comfort that you do not have anything
                 in your background (which may, for example, include information posted or blogged on social
                 networks such as Facebook, MySpace, Twitter, Instagram, Snapchat, Vines etc., in addition to your
                 oral answers to my questions) that might improperly affect you as a juror in this case, I will be
                 asking certain questions of you.

                         Although some of my questions may appear personal, the purpose of the questioning is not
                 to embarrass you but simply to develop enough information to determine whether you will sit as a
                 juror in this particular case. If your response to any of my questions is personal in nature, you
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may ask to approach the bench at "sidebar" to respond privately.

         After I ask my questions, some of you may be excused "for cause." That means that, for a
reason determined by me to be sufficient legal grounds, you are not going to sit as a juror as a matter
of law in this case. An example might be that you know or are related to or are friends with one of
the witnesses, parties or counsel. Others of you may later be excused "peremptorily." That means
that one of the attorneys will request, as is their right under our system, to have you excused without
giving any reason. As you can well imagine, responses to a few questions cannot give a thorough
picture of you as a person. Being excused either for cause or peremptorily is not a reflection of you
as a citizen or as a person.

II      OATH

        I will now begin asking you questions. Before I do, however, I request that you first stand
up so that Christine Murray can give you the oath that you will respond truthfully and completely
to my questions.

                               [OATH IS ADMINISTERED]


III     OUTLINE OF CASE

        As I mentioned, this is a criminal case. It is entitled United States v. Mehmet Hakan Atilla.
The defendant, Mr. A ti Ila, is a citizen of the Republic of Turkey and he is the only defendant in this
trial. As you will hear, other persons have been charged with the same or similar crimes as Mr.
Atilla, but they are not being tried in this case before you.
        Mr. Atilla has been charged in a six count Indictment. A short summary of those counts
or charges against Mr. Atilla is as follows:
        Count One charges the defendant with participating in a conspiracy with others to defraud
the United States by impairing and impeding the United States Department of Treasury's lawful
administration of United States economic sanctions against the Islamic Republic oflran.
        Count Two charges the defendant with participating in a conspiracy with others to violate
the U.S . International Emergency Economic Powers Act ("IEEPA") by providing financial services
to Iran and Iranian entities, in violation of economic sanctions imposed by the United States, and
by avoiding those sanctions .
        Count Three charges the defendant with defrauding United States financial institutions by
causing them to process financial transactions that were of benefit to Iran and Iranian entities in
violation of economic sanctions imposed upon Iran by the United States.
        Count Four charges the defendant with participating in a conspiracy with others to defraud
United States financial institutions by engaging in the (defrauding) conduct alleged in Count Three.
        Count Five charges the defendant with engaging in financial transactions from abroad but
into the United States that were intended to promote the violations ofIEEPA (conspiracy) alleged
in Count Two, the bank fraud and bank fraud conspiracy alleged in Counts Three and Four. Count
five also charges bribery of foreign officials.


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      Count Six charges the defendant with participating in a conspiracy with others to commit
money laundering by engaging in the conduct alleged in Count Five.

       Mr. Atilla denies all of the charges in the Indictment.

IV     FOR CAUSE EXAM

       QUESTIONS RELATING TO THE PARTIES

1. This action is being prosecuted by the United States Attorney's Office for the Southern District
of New York. The (Acting) United States Attorney for this district is Joon Kim, who will be
represented in this case by Assistant United States Attorneys Michael Lockard, Sidhardha Kamaraju,
David Denton and (Special) Assistant United States Attorney Dean Sovolos. They will be assisted
by Special Agent Jennifer McReynolds of the Federal Bureau of Investigation and by Michael
Chang-Friedan, a paralegal in the U.S. Attorney's Office. I will ask them to please stand briefly and
face the jurors.

2. Defendant Mehmet Hakan Atilla is represented by attorneys Victor Rocco, Thomas Thornhill and
David Rosenfield, of the law firm Herrick Feinstein, LLP, and by Cathy Fleming and Robert
Fettweis of the law firm of Fleming Ruvoldt PLLC; and by Todd Harrison and Joseph Evans of
McDermott, Will & Emery. I will ask them to please stand briefly and face the jurors.

        [Please mention your juror number before you speak.]

3. Do any of you know, know about, or have you had any dealings, personal or business, with any
of these parties, entities or their counsel?

4. Do any of you know, know about, or have you had any dealings, personal or business, with any
relatives or associates of the parties, entities or their attorneys?

       QUESTIONS RELATING TO WITNESSES

        I will be mentioning names of (and handing out a ten page list of) potential witnesses in this
case and names that may come up during trial. I will indicate their place of employment or their
county or country of residence. My mentioning of a name, however, imposes no burden or
obligation on either side in this case (i.e. the Government or the defense) to call that person as a
witness. Some of these individuals may not, in fact, testify and some names may not be mentioned.
However, I will ask whether any of you know, know about or have had any dealings, or know others
who have had dealings, with these people or entities.
        I will also mention (physical) locations that may be discussed during the trial and will ask
whether any of you know or are familiar with these locations. The locations will also be on the
handout.

       Please take your time and review the list of names and locations.


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   PLEASE REVIEW ATTACHED LIST OF NAMES WHO MAY BE
WITNESSES OR WHOSE NAME MAY BE MENTIONED DURING TRIAL
AND LOCATIONS.


1. Do any of you know, know about, or have you had any personal or business dealings with
any of the named individuals?

2. Do you know, know about, or have you had any dealings with any relatives or associates of
the named individuals?

      Please review the list of locations and/or entities that may be mentioned during the trial.

1. Do you know or are you familiar with any of the locations and/or entities mentioned? By the
way, even if you answer "yes" to any of my questions there will always be a follow up
question. That is, would your "yes" answer affect your ability to render a fair and
impartial verdict in this case?

      QUESTIONS RELATING TO NATURE OF THE CASE

1. Because this is a criminal case, the government has the burden of proving its case beyond a
reasonable doubt. The burden never shifts to the defendant. He is presumed innocent and cannot
be convicted unless and until the jury decides that his guilt has been proved beyond a reasonable
doubt. Would any of you not be able to follow this rule about innocent until proven guilty and
proof beyond a reasonable doubt?

2. Do you, or any members of your family or close friends work for: (1) any Federal or state law
enforcement agency, including the Federal Bureau of Investigation (FBI), the New York Joint
Terrorism Task Force, the U.S. Department of Homeland Security, the Bureau oflmmigration and
Customs Enforcement (ICE), the U.S. Department of Treasury Office of Foreign Assets Control
("OF AC"), the U.S. Department of State; or (2) any other government agency or body? Do you
have any opinions as a result of this employment that would impair your ability to be fair
and impartial to both sides in this case?

3. Are you (already) familiar with this case? Such that you would be unable to render a fair and
impartial verdict in this case?

4. Do you, or any members of your family or close friends have any opinions about or experience
with economic sanctions instituted by the United States against Iran and/or Iranian entities? Such
that you would be unable to render a fair and impartial verdict?

5. Do you, or any members of your family or close friends have any experiences (including
employment or otherwise) with bank fraud? Such that you would be unable to render a fair and
impartial verdict?

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6. Are you, or any members of your family or close friends employed as investment bankers or by
an international bank? Such that you would be unable to render a fair and impartial verdict?

7. Do you, or any members of your family or close friends have any familiarity or experiences with
money laundering? Such that you would be unable to render a fair and impartial verdict?

8. Do you have any strongly held opinions about people of the Muslim faith or any other faith?
Positive or negative. Such that you would be unable to render a fair and impartial verdict?

9. Do you have strongly held opinions about people from Turkey or from Iran? Positive or
negative. Such that you would be unable to render a fair and impartial verdict?

10. I will instruct you, if you become a juror, going forward not to read about the case in the
newspapers and not to follow other media accounts of the case (including online, on tv and cable
tv, etc.) and not to discuss the case with others. So that you can decide the case solely on the basis
of the evidence presented here in the courtroom. Would any of you not be able to follow this
instruction?

11. Would any of you not be able to set aside your personal opinions or views and assess this case
and render a verdict based solely on the evidence presented in Court, and in accordance with the
law as explained by the Judge?


      GENERAL QUESTIONS

1. Do any of you have any religious, moral or ethical beliefs which would prevent you from
passing judgment (guilt or innocence) on another person?

2. Do any of you have any physical or personal problems that would absolutely prevent you from
serving in this case possibly into the latter part of December but before the holidays? I am not
referring to mere inconvenience.

3. Do any of you have any difficulty with your sight or hearing that could affect your perception
of the proceedings? Including translations from foreign languages to English.

4. Do any of you speak or understand Turkish?

5. Are you taking any medication that would prevent you from giving your full attention to all of
the evidence at trial?

6. Do any of you have any difficulty understanding or reading the English language?

7. Under the law, the facts of this case are for the jury to determine and the law is for the Court
to determine. The two areas are separate and distinct. At the end of the case, as I mentioned, I will
instruct the jury on the law, through what are called "jury charges", and jurors are required to

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accept the law and apply it as it is explained to you. It will be your job to determine the facts and
assess them under my explanation of the law. Do any of you feel that you would not be able to
apply the law as I explain it? Even if, for any reason, you disagree with the law as I explain it, do
any of you feel that you would not be able to apply the relevant law?

              [DISCUSS FOR CAUSE CHALLENGES WITH COUNSEL ON
               THE RECORD IF THIS HAS NOT ALREADY OCCURRED]

V     FILLING THE BOX

      PEREMPTORY CHALLENGE EXAM

      A certain number of you will be selected at random to sit in the jury box right now and I will
be asking those of you in the box to respond to certain additional questions. Even those of you
who are not selected right now should remain seated and listen very carefully to these questions
because you may later be asked to come to the jury box and be asked these questions. Please circle
on the piece of paper you are being handed, any questions, by number, that you would have
answered "yes". This will save all of us time if you are later called up.

      [PLEASE HAND OUT PEREMPTORY CHALLENGE QUESTIONNAIRE AND
                     FILL THE BOX WITH 36 PEOPLE].



      PEREMPTORY CHALLENGE QUESTIONS

Please state your full name.

1. Have any of you ever sat as a juror before in any type of case? If so, please state whether the
case was in state or federal court, whether it was a civil or criminal matter, and, without stating
what your verdict was, whether a verdict was reached.

2. Have any of you ever served as a grand juror?

3. Have you or any member of your family or any close friends ever appeared as a witness at either
a deposition, trial or a grand jury investigation? If so, what was the case about?

4. Have you or any member of your family or any close friends ever been a plaintiff or a defendant
in a state or federal court case, whether criminal or civil? If so, what kind of case? And, what did
it involve?

If you answer yes to 1, 2, 3 or 4 above, is there something about that experience that would
prevent you from acting as a fair and impartial juror in this case?

5. What is your County ofresidence?

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6. What level of school did you reach?

7. What is your occupation and title and how long have you been at your current position? If
retired, what did you do before?

8. Are there other members of your household?

9. What do they do [occupation]? If retired, what did they do before?

10. What type of magazines, newspapers and books do you read? What kind of television shows
do you watch?

11. What do you like to do in your spare time?

12. Is there anything in your personal history or life experience -- whether I have asked
specifically about it or not -- that would affect your ability to render a fair and impartial
verdict in this case?

VI CONFERENCES

       From time to time during the trial it may become necessary for me to talk with the lawyers
out of the hearing of the jury, either by having a conference near (at the side of) the bench when
the jury is present in the courtroom, or by calling a recess. I prefer not to have many sidebars, if
possible. Please understand that while you are waiting we are working. The purpose of any
conference outside your hearing/viewing is not to keep relevant information from you, but to
decide certain procedural issues or how certain evidence is to be treated under the rules of evidence
and to avoid confusion and error. Right now, we will be going to the Robing Room (which is my
office behind the Courtroom) to discuss the peremptory challenges that counsel may have.

      I will, of course, do what I can to keep the number and length of conferences to a minimum.
I may not always grant an attorney's request for a conference. Do not consider my granting or
denying a request for a conference as any indication of my opinion of any attorney or of the case
or of what your verdict sho_uld be.

                              [EXCUSE CHALLENGED mRORS]

VII   OATH TO JURORS

VIII PRELIMINARY CRIMINAL INSTRUCTIONS

IX    OPENING STATEMENTS

X     PRESENTATION OF CASE



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Last           First
Afacan         Fund a               BGC Partners employee (Istanbul)
Aghazadeh      Behrooz              Iranian businessman
Ahmadinejad    Mahmoud              Former President of Iran
Ahmed          Fi rd aus            Dubai businessman and accountant
Akkaya         Halil Ibrahim        Former Turkish law enforcement
Aksoy          Kazim                Former Turkish law enforcement
Akturk         Yaser                Turkish businessman
AITaher        Ali Sulaiman         Dubai businessman
Ala            Efkan                Former adviser to Turkish Prime Minister and former Turkish Minister of Interior
Alacaci        Taha Ahmet           Turkish businessman
Alakustekin    Selin                Former Halkbank employee
Alamdari       Babak                Iranian businessman
Albayrak       Be rat               Turkish Minister of Energy and Natural Resource
Alipour        Bijan                Iranian businessman
Altinbas       Husamettin           Turkish businessman
Altinok        Sela mi              Turkish law enforcement
Altunyaldiz    Ziya                 Dubai businesswoman
Alware         Shadab               Dubai businessman
Amiamgoggian   Miandapci Aresh      Iranian-Dubai businessman
Anello         Robert               Attorney for Reza Zarrab
Asian          Fatma                Wife of Suleyman Asian
Asian          Suleyman              Former General Manager of Halkbank
Ata say        Murat                 Friend of Hakan Atilla
Atilla         Mehmet Hakan          Defendant
Atwater        James                 FBI Agent
Aydenir        Ekrem                Turkish prosecutor
Aydin          Elif                 Halkbank employee
Aydogan        Hakkan                Halkbank Employee
Baba can       Ali                   Former Turkish Deputy Prime Minister
Badalov        Vida Ii              Azerbaijani businessman

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Bagis         Egemen             Former Turkish Minister for EU Affairs
Bahmani       Mahmoud            Former Governor of the Central Bank of Iran
Balkan        Levent             Former Halkbank Employee
Bardacki      Fatih              Halkbank Employee
Bayar         Ruchan             Turkish businessman
Bayraktar     Hakan              Turkish businessman
Bayraktar     Umut               Turkish businessman
Bazargan      Farzad             Iranian businessman
Berk          Sabri              Iranian businessman
Brafman       Benjamin           Attorney for Reza Zarrab
Brummond      David              Former Senior Sanctions Advisor at OFAC
Bulut         Bu lent            FBI Linguist
Caglayan      Salih Kaan         Son of Mehmet Zafer Caglayan
Caglayan      Mehmet Senol       Brother of Mehmet Zafer Caglayan
Caglayan      Mehmet Zafer       Former Turkish Minister of the Economy
Canitez       Osman Zeki         Former auditor at Turkey's Banking Regulatory and Supervisory Intuition (BDDK)
Cesurturk     Murat              Turkish businessman
Cetinkaya     Murat              CEO, Istanbul Stock Exchange (Istanbul)
Cohen         David              Former U.S. Treasury official and former Deputy Director of the CIA
Deniz         Nesteren Zarei     Turkish -Iranian businesswoman
Denk          Benjamin           FBI Agent
Dubowitz      Mark               CEO of the Foundation for Defense of Democracies
Dundar        Can                Turkish Journalist
Eker          Ozgur              Turkish banking official
Erdogan       Bilal              Son of Recep Tayyip Erdogan
Erdogan       Recep Tayyip       President of Turkey
Eroglu        Emir               Turkish businessman
Fadillioglu   Serdar             Halkbank employee
Fathe Razi    Amir               Iranian businessman
Friehdham     Robert Bonte       Friend of Hakan Atilla (UK)
Geissler      Scott              FBI Agent

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Geist       Scott              FBI Agent
Gelgec      Adem               Turkish businessman
Ghalebani   Ahmad              Former Managing Director of the National Iranian Oil Company
Ghasemi     Rostam             Former Iranian Minister of Petroleum
Giuliani    Rudolph            Former Mayor of New York City
Glaser      Daniel             Former U.S. Treasury Department official
Gi.ilen     Fethullah          Founder of Gi.ilenist Movement (Turkey)
Guler       Baris              Son of Muammer Guler
Guler       Fatih              Halkbank employee
Guler       Muammer            Former Turkish Minister of the Interior
Gundes      Ebru               Turkish pop star, wife of Reza Zarrab
Happani     Abdullah           Turkish businessman
Happani     Bilal              Turkish businessman
Happani     Cemellatin         Turkish businessman
Happani     Ero I              Turkish businessman
Happani     Mehmet             Turkish businessman
Happani     Turgut             Turkish businessman
Hayyam      Emin               Turkish businessman
Hong        Will               Chinese businesswoman
lnal        Mustafa Dogan      Turkish attorney
Ince        Orhan              Former Turkish law enforcement official
Iqbal       Mohammad Asim      Dubai businessman
lsikgun     lrfan              Turkish businessman
Jafari      Mohammad           Iranian-Dubai businessman
Jamshidy    Kamelia            Turkish businesswoman
Jamshidy    Kasra              Turkish businessman, brother of Kamelia Jamshidy
Jashnsaz    Seifollah          Chairman of Naftiran lntertrade Company
Kai ban     Emre               Turkish businessman
Kaplan      Servet             Turkish customs agent
Kara        Celal              Former Turkish prosecutor
Karakurdu   Vefa               Turkish law enforcement

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Karaman        Ozgur                Halkbank employee
Kaya           Onur                 Former assistant to Mehmet Zafer Caglayan
Kaynar         Mustafa Behcet       Former assistant to Mehmet Zafer Caglayan
Kazakos        Georges              Friend of Hakan Atilla (Greece)
Kazi a         Shakeeb              Dubai businessman
Khamenei       Ayatollah Ali        Supreme Leader of Iran
Kil inc        Ebru Atamar          Friend of Hakan Atilla (Turkey)
Kirschenbaum   Joshua               Former U.S. Treasury Department official
Koc            Salih                Officer at Turkish charitable foundation
Kocabas        Mehtap Erkut         Halkbank employee
Korkmaz        Huseyin              Former Turkish Police Officer
Korkmaz        Muacet               Turkish customs agent
Korkmaz        Zafer                Friend of Hakan Atilla (Turkey)
Kovanci        Umut                 Friend of Hakan Atilla (Turkey)
Kul            Murat                Friend of Hakan Atilla
Levey          Stuart               Former U.S. Treasury Department official
Lieberman      Michael              Former U.S. Treasury Department official
Mammadov       Ahmad                Azerbaijani businessman
Mammadov       Sha Iii              Azerbaijani businessman
Mc Reynolds    Jennifer             FBI Agent
Mehdizadeh     Imam                 Iranian businessman
Mukasey        Michael              Former U.S. Attorney General
Najafzadeh     Hosse in             Bank Mellat official
Najafzadeh     So he ii             Son of Hosse in Najafzadeh
Najafzadeh     Soroush              Son of Hossein Najafzadeh
Nazman         Arzun                Turkish law enforcement
Nenemoglu      Abdurrahman          Turkish businessman
Nikousokhan    Mahmoud              Finance Director of National Iranian Oil Company
Okumus         Aykut                Turkish businessman
Okur           Nurullah             Friend of Hakan Atilla (Turkey)
Okuran         Husnu                Former Goldman Sachs/ Deutsche Bank employee (Istanbul)


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Olangian            Reza                 Resident of Metropolitan Correction Center
Oz                  Zekeriya             Former Turkish prosecutor
Ozbek               Abdurrahman          Halkbank employee
Ozcelik             Oner                 Assistant Professor, Indiana University
Ozcil               Yucel                Turkish businessman
Ozdemir             Ozgur                Turkish businessman
Oz is               Ahmet Murat          Turkish businessman
Ozkok               Suleyman             Friend of Hakan Atilla (Turkey)
Oztabak             Elvan                Halkbank employee
Peri                Robert               Citibank officer
Pouransari          Hashem               Naftiran lntertrade Company Official
Pourdara            Javad                Dubai businessman
Rajaeieh            Mohammad Reza        Bank Sarmayeh Official
Rastgarshishegh     Mohammadsadegh       Turkish businessman
Ricciardone, Jr.    Francis J.           US Ambassador to the Republic of Turkey, 2011-2014
Rona                Go khan              Turkish businessman
Sae id              Jafar                Dubai businessman
Sardarlou           Mohammed             Iranian-Dubai businessman
Sari                Binnur               Halkbank employee
Sargin              Turker               Turkish businessman
Saygili             Yakoub               Former Turkish law enforcement
Schanzer            Jonathan             Senior Vice President of Foundation for Defense of Democracies
Simsek              Mehmet               Turkish Minister of Finance
Sirali              Hakan                Turkish law enforcement
Sloan              · Douglas             Deutsche Bank official
Szubin              Adam                 Former Director of the Office of Foreign Assets Control
Taheri              Gita                 Royal companies employee
Tamimi              Ahad Khabbaz         Turkish businessman
Tamimi              Behram               Turkish businessman
Tamimi              Shah ram             Turkish businessman
Taskesenlioglu      Ali Fuat             Former General Manager of Halkbank


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Taymaz                Seyit Ahmet            Halkbank employee
Tessler               David                  Former U.S. Treasury Department official
Topcu                 Yasin                  Former Turkish law enforcement
Tringale              Robert                 FBI Agent
Tuner                 Hikmet                 Employee of Baris Guler
Tuzuner               Sumeyra                Turkish translator
 Uner                 Mehmet Akif            Former Turkish law enforcement
 Ure I                Aykut                  Halkbank employee
 Uzunkaya             Veysi                  Turkish provincial director of commerce
 Yagci                Olcay                  Friend of Hakan Atilla
Yazdi                 Lavida                 Royal companies employee
Yildirim              Seyda                  Turkish Attorney
Yildiz                Sela mi                Turkish law enforcement
Yilmaz                Afife Muge             Halkbank employee
Yilmaz                Turhan                 Turkish businessman
Yuksel                Mete                   TEB Investment employee (Istanbul
Zanjani               Babak                  Iranian businessman
Zarei                 Habibollah             Turkish-Iranian businessman
Zarrab                Hossain                Father of Reza Zarrab
Zarrab                Mohammad               Alleged co-conspirator
Zarrab                Reza                   Alleged co-conspirator


 Companies                                                                             Description
· Ables (Tianjin) International Trading Co., Ltd.                                      Chinese trading company
Aktif Yatirim Bankasi A.S. a/k/a "Aktif Bank"                                          Turkish bank
Al Hila! Exchange                                                                      Dubai exchange house
Al Nafees Exchange LLC                                                                 Dubai exchange house
Al Rostamani International Exchange                                                    Dubai exchange house
Al Salam Exchange Centre                                                               Dubai exchange house
Al-Fida General Trading a/k/a Al-Fida International General Trading                    Dubai exchange house


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Al-Hilal Exchange                                                    Dubai exchange house
Anvil International Trading Company LLC                              Dubai trading company
Are Havacilik AS                                                     Turkish business
Asi Kiymetli Madenler Turizm Otom                                    Turkish business
Atlantis Capital General Trading LLC                                 Dubai trading company
Azza Computers                                                       Dubai business
Bank Keshavarzi Iran                                                 Iranian bank
Bank Mellat Iran                                                     Iranian bank
Bank Melli Iran                                                      Iranian bank
Bank of America, N.A.                                                American bank
Bank of New York Mellon, N.A.                                        American bank
Bank Parsian Iran                                                    Iranian bank
Bank Pasargad Iran                                                   Iranian bank
Bank Saderat Iran                                                    Iranian bank
Bank Sarmayeh Iran                                                   Iranian bank
Bella lnsaat Turizm                                                  Turkish business
Bella Investments Co LLC                                             Dubai business
Bin Sabt Jewellery LLC                                               Dubai trading company
Bunge Limited                                                        International agribusiness
Cameron Denizcilik Kiymetli Madenler                                 Turkish business
Cargill                                                              International agribusiness
Cemre Kiymetli Mad Turz Oto Gida                                     Turkish business
Central Bank of Iran a/k/a "Bank Markazi Jomhouri lslami Iran"       Iranian central bank
Central Bank of the UAE                                              United Arab Emirates central bank
Centrica General Trading                                             Dubai trading company
Cihan Kiymetli Madenler San Ve Dis Tic LTD STI                       Turkish company
Citibank, N.A.                                                       American bank
Credit Institution for Development                                   Iranian bank
Deutsche Bank North Americas N.A.                                    Bank
Durak Doviz Ve Kimyetli Madenler Ticaret AS                          Turkish exchange house
Duru Doviz Ve Kiymetli Madenler Ti caret Anonim Sirketi              Turkish exchange house

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ECB Kuyumculuk le Vedis Sana Ticaret Ltd Sirketi                     Turkish business
Economy Investment Co . LLC                                          Dubai business
Emin General Trading LLC                                             Dubai trading company
Emin Kiymetli Madenler Turizm Otomo                                  Turkish business
Fadaei General Trading                                               Dubai business
First Islamic Investment Group                                       Maylasian bank
Foolad Kaveh Tikmeh Dash Steel a/k/a Kaveh Tiikme Dash Steel         Iranian business
Foundation for the Defense of Democracies                            American not-for-profit organization
Hanedan General Trading LLC                                          Dubai trading company
Hicran General Trading LLC                                           Dubai trading company
Hicran lnsaat Turizm Otomotiv Kuyumculuk Sanayi Ve Ticaret Ltd       Turkish business
Hicran Kuyumculuk a/k/a Hicran Jewelry                               Turkish business
Hizballah                                                            Foreign terrorist organization
HK lntertrade Company                                                Hong Kong business
HSBC Bank USA, N.A.                                                  American bank
IIsam Dis Tic. Danismanlik Sanayi lnsaat ve Taahhut Ltd Sti          Turkish business
lnci Kuyumculuk Sanayi Ve Dis Ticaret A.S.                           Turkish business
International Safe Oil                                               Malaysian oil company
Islamic Revolutionary Guard Corp                                     Iranian military unit
Islamic Revolutionary Guard Corp - Qods Force                        Iranian military unit
lzmit (Tianjin) International Trading Co., Ltd .                     Chinese trading company
JPMorgan Chase Bank, N.A.                                            American bank
Kagan ithalat Ve ihracat San Ve Dis Tic LTD STI                      Turkish business
Kapital Kiymetli Made_nler San Ve Dis Tic LTD STI                    Turkish business
Kazia International Limited                                          Dubai business
Kont Investment Bank                                                 Tajikistan bank
Kant Kosmetic                                                        Turkish business
Kuzey Kiymetli Madenler Sn. Tic. Sti                                 Turkish business
Lord Metal lthalat lhracat Sanayi Ticaret                            Turkish business
Mahan Airlines                                                       Iranian airline
Marigold Exchange                                                    Dubai exchange house

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Marun Petrochemical                                                 Iranian oil company
Master Sara Turizim Import and Export                               Dubai business
Mellat Exchange                                                     Iranian exchange house
Mesrkanloo Exchange                                                 Iranian exchange house
MND (Tianjin) International Trading Co., Ltd .                      Chinese trading company
Mumtaz Kuyumculuk a/k/a Mumtaz Jewelry                              Turkish business
Nadir Gold                                                          Turkish business
Naft Iran lntertrade Company a/k/a NICO a/k/a Naftiran              UK business
National Iranian Gas Company                                        Iranian state-owned gas company
National Iranian Oil Company                                        Iranian state-owned oil company
Ocean Development Company LLC                                       Dubai business
Omanye Gold Mining Limited                                          Ghana business
Osteon General Trading LLC                                          Dubai business
Pacific Lilly FZE (UAE)                                             Dubai business
Pirlanta Kiymetli Madenler San Ve Dis Tic STD STI                   Turkish business
Rana Plastic Utensils Manufacturers LLC                             Dubai business
Rona Davis ve Kiymetli Maden Ticareti AS                            Turkish business
Royal Denizcilik Ve Endustriyei Mak                                 Turkish business
Royal Emerald General Trading                                       Dubai business
Royal Emerald I                                                     Dubai business
Royal Emerald Investments, LLC                                      Dubai business
Royal Equestrian                                                    Turkish business
Royal Holdings, A.S.                                                Turkish business
Royal Mobilya Dekorasyon SAN. TIC. LTD STI                          Turkish business
Sacem Exchamge a/k/a Sagem Exchange a/k/a Sajem Exchange            Dubai exchange house
Safir Altin Ticaret lthalatve lhracat Limited Sikreti               Turkish business
Sarkuysan                                                           Turkish business
Sarmeye Exchange a/k/a "Sarmayeh Exchange"                          Iranian exchange house
Sorinet Commercial Trust Bankers a/k/a SCT Bankers                  Dubai business
Sepanta International FZE                                           Dubai business
Si may Altin Ticaret lthalat Ve lthracat Ltd.                       Turkish business

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Sina Gold                                                                Dubai business
Standard Chartered Bank                                                  American bank
Swift International & Development Co. Ltd.                               Dubai business
Tasbasi Doviz Ve Kiymetli Madenler Ticareti AS                           Turkish business
Tianjian Cuynet International Trading Co., Ltd .,                        Chinese trading company
Togem-der Foundation                                                     Turkish not-for-profit
Toseh Tejarat Paydar Qeshm                                               Iranian business
Toseh Tejarat Sarmayeh Padyar Qeshm                                      Iranian business
Trabzon (Tianjin) International Trading Co . Ltd                         Chinese trading company
Transguard                                                               Dubai transport company
Turgev Foundation                                                        Turkish not-for-profit
Turkiye Halk Bankasi A.S. a/k/a "Halkbank"                               Turkish bank
Ti.irkiye Sima General Trading                                           Turkish business
Turkmengaz Dowlet Konserni                                               Turkmenistan state-owned gas company
UBS Bank, N.A.                                                           Bank
Volgam Kuyumculuk ve Kiymetli Madenler Dis Tic LTD a/k/a "Volgam Gida"   Turkish business
Wanoos General Trading Co .                                              Dubai trading company
Wells Fargo, N.A.                                                        American bank
Ziraat Bankasi a/k/a "Ziraat Bank"                                       Turkish bank



Places
Conrad Hotel, Istanbul, Turkey
Dubai, United Arab Emirates
Islamic Republic of Iran
Orient Bazaar, Istanbul, Turkey
Republic of Turkey
Trump Towers, Istanbul, Turkey




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